Case 1:23-cr-00061-MN Document 236 Filed 06/24/24 Page 1 of 13 PageID #: 3520




                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE
__________________________________
                                  )
UNITED STATES OF AMERICA          )
                                  )
           v.                     ) Criminal Action No. 1:23-cr-00061-MN
                                  )
ROBERT HUNTER BIDEN,              )
                                  )
           Defendant.             )
                                  )
__________________________________)


   MR. BIDEN’S REPLY BRIEF IN SUPPORT OF HIS MOTION FOR A RULE 29
       ACQUITTAL ON COUNT THREE FOR CHARGING A NON-CRIME




      Abbe David Lowell                    Bartholomew J. Dalton (#808)
      Christopher D. Man                   DALTON & ASSOCIATES, P.A.
      WINSTON & STRAWN                     1106 West 10th Street
      1901 L Street NW                     Wilmington, DE 19806
      Washington, DC 20036                 Tel.: (302) 652-2050
      Tel.: (202) 282-5000                 BDalton@dalton.law
      Fax: (202) 282-5100
      AbbeLowellPublicOutreach@winston.com

                         Counsel for Robert Hunter Biden
Case 1:23-cr-00061-MN Document 236 Filed 06/24/24 Page 2 of 13 PageID #: 3521




                                       INTRODUCTION

       Mr. Biden timely filed his Rule 29 motion for a judgment of acquittal, rather than move to

dismiss the indictment, because he sought the double jeopardy protection that only an acquittal can

provide. Even if viewed as the Special Counsel does as a Rule 12 motion, it can be raised at any

time under Rule 12(b)(2) and the Court has good cause to consider it now in any event.

       The fact that Mr. Biden has been convicted of a non-crime on Count 3 is clear because the

very statute the Special Counsel charged is no longer in effect, and courts must apply the law as it

now exists. The Special Counsel is doubly wrong in claiming that this rule for applying the law

in effect has an exception for amended penalty provisions and that 18 U.S.C. § 924(a)(2) is such a

penalty provision. Neither is true. There is no such legal exception and Section 924(a)(2) is no

mere penalty provision—it is what transforms a violation of 18 U.S.C. § 922(g)(3) from a mere

prohibition into a crime. Not all violations of Section 922(g)(3) are crimes either. Section

924(a)(2) goes beyond ascribing penalties, it establishes the scienter requirement where only

violations of certain Section 922 offenses committed “knowingly” are crimes.

       The Special Counsel’s invocation of the 1871 savings clause now found in 1 U.S.C. § 109

is off base, because that statute only saves prosecutions that already had been filed when the law

was amended. It does not allow the Special Counsel to bring new prosecutions post-amendment

based on conduct that violated a pre-amendment statute, which is exactly what the Special Counsel

has done. Not only does the language of Section 109 itself make this clear, but the 153-year history

since the statute was enacted confirms this reading. Congress regularly attaches savings clauses

to legislation to allow new prosecutions to be brought for violations of prior law, when it chooses

to do so, and it did not do so here. In the Special Counsel’s view though, Congress has been




                                                 1
Case 1:23-cr-00061-MN Document 236 Filed 06/24/24 Page 3 of 13 PageID #: 3522




enacting needless surplusage over the past century and a half because he believes this 1871 statute

made all that legislation unnecessary. That is obviously wrong.

                                         ARGUMENT

I.     THE SPECIAL COUNSEL MISCONSTRUES THE CRIME CHARGED AND THE
       1871 SAVINGS CLAUSE

       A.      The Special Counsel Misconstrues The Crime Charged

       The Special Counsel does not seem to quarrel with the common law abatement rule that

the amendment or repeal of a statute that eliminates a basis for criminal liability terminates the

basis for prosecution under the prior law at the time the amendment takes effect, but he claims

“[n]one of these arguments address the amendment or repeal of penalty provisions.” D.E.233 at

6. As shown in the next section, the Special Counsel’s penalty provision exception is a figment of

imagination—it simply does not exist, and he cites nothing to suggest it actually exists. But his

argument stumbles out of the gate because Section 924(a)(2) establishes the substantive offense as

well as provides the penalty.

       The Special Counsel has to contort his way around the plain language of the statutes that

stand in his way. He claims Section 922(g)(3) “makes it a crime for any person who is an unlawful

user of or addicted to any controlled substance to possess a firearm,” but that is patently untrue.

D.E.233 at 3 (emphasis added). Section 922(g)(3) merely states that conduct is “unlawful,” but a

lot of things are unlawful without being criminal and nothing in Section 922(g)(3) makes any

reference to a violation of this provision being a crime.

       It is Section 924(a)(2) which makes a violation of Section 922(g)(3) a crime, but not in all

situations. On its face, Section 922(g)(3) makes conduct “unlawful” regardless of intent. Section

924(a)(2) lists various provisions of Section 922 that, if violated “knowingly,” subjects someone

to potential fines or imprisonment. Thus, Section 924(a)(2) is what creates the crime with the



                                                2
Case 1:23-cr-00061-MN Document 236 Filed 06/24/24 Page 4 of 13 PageID #: 3523




mens rea requirement and Section 922(g)(3) merely identifies the prohibited conduct that Section

924(a)(2) requires to be committed “knowingly.”

       Despite the Special Counsel’s need and desire to avoid the way both statutes operate, the

Supreme Court describes the interplay between these statutes exactly as Mr. Biden does:

    A federal statute, 18 U.S.C. § 922(g), provides that “[i]t shall be unlawful” for certain
    individuals to possess firearms. The provision lists nine categories of individuals subject
    to the prohibition, including felons and aliens who are “illegally or unlawfully in the
    United States.” A separate provision, § 924(a)(2), adds that anyone who “ knowingly
    violates” the first provision shall be fined or imprisoned for up to 10 years.

Rehaif v. United States, 588 U.S. 225, 227 (2019). Rehaif emphasized that the word “knowingly”

is a critical element in the statute, which it read broadly. “Applying the word ‘knowingly’ to the

defendant's status in § 922(g) helps advance the purpose of scienter, for it helps to separate

wrongful from innocent acts.” Id. at 232.

       Thus, even if there were some truth in the Special Counsel’s imagined penalty provision

exception from the rule that courts apply the law in effect at the time of their decisions , such an

exception would not apply here.

       B.      There Is No Exception For Amendments Altering A Penalty Provision

       It is firmly established that courts must apply the law in effect at the time they make

decisions, and that is a categorical rule—there is no exception for penalty provisions. See, e.g.,

United States v. Schooner Peggy, 5 U.S. (1 Cranch) 103, 110 (1801). There is an important caveat

to this principle, addressed in the next section, where existing law may keep a prior statute in effect

for some present purposes through a savings clause. But the common law abatement rule is

categorical and applies to amendments altering even penalties.

       The Supreme Court has declared: “The repeal of the law imposing the penalty, is of itself

a remission.” Maryland v. Baltimore & Ohio R.R. Co., 44 U.S. (3 How.) 534, 552 (1845) (citing




                                                  3
Case 1:23-cr-00061-MN Document 236 Filed 06/24/24 Page 5 of 13 PageID #: 3524




Schooner Peggy, 5 U.S. at 104). In Tynen v. United States, 78 U.S. 88 (1870), for example, “a

new statute with a greater schedule of penalties was held to abate the previous prosecution.”

Hamm v. City of Rock Hill, 379 U.S. 306, 314 (1964); accord United States v. Chambers, 291 U.S.

217, 223 (1934). There is no carve-out from the rule that courts apply the law in effect at the time

a court issues its decision with respect to a penalty provision that is no longer in effect.

       C.      The 1871 Savings Clause Only Saves Prosecutions Pending At The Time Of A
               Repeal

       The purpose of the 1871 savings clause was to overturn the Supreme Court’s decision in

Tynen the year before, which caused a case then-pending before the Supreme Court to abate when

Congress substituted new penalties for the prior offense that was then before the Court. In Hamm,

the Supreme Court explained the savings clause was enacted to prevent this sort of “mere technical

abatement” of Tynen, which “abate[d] the previous prosecution.” 379 U.S. at 314.

       Although the Special Counsel mistakes United States v. Brown, 47 F.4th 147 (3d Cir.

2022), as supporting its theory that penalty provisions are treated differently from all other laws

now in effect, Brown merely reiterates what Hamm and countless cases like it make clear: the

savings clause preserves already pending prosecutions. In Brown, the defendant was indicted on

March 28, 2018, and the change of law did not occur until later, on December 20, 2018, so Section

109 saved a pending prosecution. Id. at 151.

       This result is clear from the language of Section 109 itself:

    The repeal of any statute shall not have the effect to release or extinguish any penalty,
    forfeiture, or liability incurred under such statute, unless the repealing Act shall so
    expressly provide, and such statute shall be treated as still remaining in force for the
    purpose of sustaining any proper action or prosecution for the enforcement of such
    penalty, forfeiture, or liability.

(emphasis added). The statute refers to “sustaining” both a pending civil case (“proper action”) or

criminal “prosecution,” and for something to be sustained it must already exist.



                                                 4
Case 1:23-cr-00061-MN Document 236 Filed 06/24/24 Page 6 of 13 PageID #: 3525




       In Bradley v. United States, 410 U.S. 605, 609 (1973), the Supreme Court looked to the

language of a savings clause and explained: “The term ‘prosecution’ clearly imports

a beginning and an end.” The issue there was in finding sentencing part of the end of a

prosecution, but our focus is on the beginning. A criminal prosecution begins with an indictment.

Kirby v. Illinois, 406 U.S. 682, 690 (1972) (making the Sixth Amendment applicable). Thus,

Section 109’s use of the words “sustaining” and “prosecution” reenforce that the statute deals with

only pending cases. A prosecution does not exist and cannot be sustained until after an indictment

is returned.

       This reading of the statute is consistent with how the Supreme Court reviews similar

savings clauses as saving only pending cases, rather than cases that could have been brought under

prior law. See, e.g., Wash. Home for Incurables v. Am. Sec. & Trust Co., 224 U.S. 486, 490−91

(1912) (Holmes, J.). Also, “when there is doubt concerning the effect of a savings clause on a

criminal proceeding, the clause should be strictly construed in favor of the accused.” United States

v. Obermeier, 188 F.2d 243, 256 n.59 (2d Cir. 1950). From the earliest days of the Republic,

Congress has known how to craft savings clauses which would go as far as the Special Counsel

would like by providing that someone “may be prosecuted” under the former law despite its repeal.

See, e.g., The Irresistible, 20 U.S. 551 (1822) (Marshall, C.J.) (upholding a forfeiture claim under

an amended statute, which included a provision that read: “Provided, nevertheless, that persons

having offended against any of the acts aforesaid may be prosecuted, convicted, and punished, as

if the same were not repealed, and no forfeiture heretofore incurred by a violation of any of the

acts aforesaid shall be affected by such repeal.”).

       Mr. Biden catalogued many—but far from all—savings clauses that Congress has added to

legislation in the 153 years since the 1871 statute was adopted, all of which would be meaningless




                                                 5
Case 1:23-cr-00061-MN Document 236 Filed 06/24/24 Page 7 of 13 PageID #: 3526




surplusage if the 1871 statute had done the same work decades earlier or even more than a century

before. D.E.221 at 4−5. At least since Chief Justice Marshall’s opinion in The Irresistible,

Congress has known how to draft savings clauses that would allow prior law to reach cases that

could have been brought under prior law, rather than to merely sustain pending prosecutions. The

fact Congress did not do so here is dispositive. 1

II.    MR. BIDEN’S RULE 29 MOTION IS TIMELY

       Rule 29 provides that “[a] defendant may move for a judgment of acquittal, or renew such

a motion, within 14 days after a guilty verdict or after the court discharges the jury, whichever is

later,” and Mr. Biden timely filed this motion. In an ironic twist after complaining that Mr. Biden

should be confined to the remedy of dismissal that he sought in bringing an Appropriations Clause

violation and could not seek a different remedy of injunctive relief, here the Special Counsel takes

the opposite position. Although Mr. Biden filed this Rule 29 motion seeking an acquittal, the

Special Counsel claims what Mr. Biden really wants is to dismiss the charge in the indictment for

failure to state a claim.

       Not true. Mr. Biden seeks exactly the remedy that he requested—an acquittal. Mr. Biden

did not seek a dismissal under Rule 12 because double jeopardy protection does not attach to such




1 Situations like the present case where Congress transitions from one statutory regime to another
tend to impact relatively few cases given Section 109. Violations of the new statute will be
prosecuted under the new statute and prosecution that had begun under the old statute will continue
under the old statute with the savings clause of Section 109. Only potential prosecutions that could
have been brought under the old statute, but that were not, are precluded. But prosecutors typically
do not sit on their hands with respect to cases that are worthy of prosecution and legislation
typically moves slowly, so prosecutors can seek indictments under prior law before any
amendment can be passed or take effect. Congress has legislated against the background principle
of the Schooner Peggy for two centuries and may very well conclude that any case not already
brought under prior law is not worth bringing. Conversely, Congress knows how to craft a savings
clause that would save those potential prosecutions too, when it wants to. It did not do so here.
This Court applies the law as it finds it.

                                                 6
Case 1:23-cr-00061-MN Document 236 Filed 06/24/24 Page 8 of 13 PageID #: 3527




pre-trial dismissals, but an acquittal does afford a defendant double jeopardy protection. Mr. Biden

took the case to trial so that, either by conviction or acquittal from the jury or by this Court, he

would have double jeopardy protection against future prosecutions. That is his right.

       Defense counsel certainly understood it to be Mr. Biden’s right.            Defense counsel

previously succeeded in filing a similar Rule 29 motion in United States v. Fernandez, 722 F.3d 1

(1st Cir. 2013). In Fernandez, following a Travel Act conviction predicated on travel to violate a

Puerto Rico bribery law, defense counsel filed a Rule 29 motion for a judgment of acquittal

because the Puerto Rico bribery statute charged in the indictment had been repealed before the

alleged travel took place, such that the crime was a legal impossibility. To be sure, defense counsel

could have moved to dismiss the charge, which plainly rested upon a repealed law before trial, but

defense counsel moved for a judgment of acquittal after trial instead, and the First Circuit agreed

it should have been granted. Id. at 31. The argument fits comfortably within the literal language

of Rule 29 as the government had failed to prove a crime at trial, regardless of whether the

defendant could have taken an alternative path of seeking dismissal before trial.

       The Third Circuit did something similar in United States v. Berrigan, 482 F.2d 171 (3d

Cir. 1973). In that case, there was legal uncertainty about the scope of the crime that was charged,

and the Third Circuit found that a Rule 29 judgment of acquittal should have been granted because

the government had charged a legal impossibility. Id. at 188−89 (explaining a legal impossibility

exists when everything the government charges occurred factually is true, but it does not constitute

a crime). The fact that the government failed to prove the charge warranted granting the Rule 29

motion in the Third Circuit’s opinion, even though the same argument that the indictment failed

to charge an offense could have been brought before trial.




                                                 7
Case 1:23-cr-00061-MN Document 236 Filed 06/24/24 Page 9 of 13 PageID #: 3528




       Even viewing this motion as one under Rule 12, as the Special Counsel does, Rule 12(b)(2)

provides that “[a] motion that the court lacks jurisdiction may be made at any time while the case

is pending,” and the Third Circuit has found that rule rejects the very argument the Special Counsel

makes here. In United States v. Wander, the Third Circuit noted that “[t]he Government points out

that the defendants did not raise this issue [with an indictment’s failure to state an offense] until

after the Government had rested its case and when it was too late to cure the defect,” and the Court

rejected that argument because “[f]ailure of an indictment sufficiently to state an offense is a

fundamental defect, however, and it can be raised at any time.” 601 F.2d 1251, 1259 (3d Cir.

1979). The Third Circuit has reiterated this principle over and over. See, e.g., United States v.

Panarella, 277 F.3d 678, 683 (3d Cir. 2002); United States v. Vitillo, 490 F.3d 314, 324 (3d Cir.

2007); United States v. Cefaratti, 221 F.3d 502, 507 (3d. Cir. 2000); United States v. Spinner, 180

F.3d 514, 516 (3d Cir. 1999). Indeed, the Third Circuit has taken the point further, explaining:

“We have squarely held that Rule 12(b)(2) applies equally to both objections raised before a

District Court and objections raised for the first time before a Court of Appeals.” Panarella, 277

F.3d at 682; see Gov. of the Virgin Islands v. Pemberton, 813 F.2d 626, 631 (3d Cir. 1987) (“This

court has interpreted Fed.R.Crim.P. 12(b)(2) to mean that an objection to an information on the

ground that it fails to charge an offense may be raised for the first time on appeal.”). The Third

Circuit did that in both Cefaratti and Spinner too. Panarella, 277 F.3d at 684.

       Alternatively, the Court can treat this reply as a Rule 34 motion for an arrest of judgment,

which similarly can be brought where “the indictment charges no offense.” United States v. Earls,

2004 WL 1488524, at *1 (S.D.N.Y. July 2, 2004). This motion is timely under Rule 34(b) because

it is filed within 14 days of the verdict.




                                                 8
Case 1:23-cr-00061-MN Document 236 Filed 06/24/24 Page 10 of 13 PageID #: 3529




        Ignoring all this case law, the Special Counsel invokes only United States v. Desu, 23 F.4th

224 (3d Cir. 2022), which did not address any of this law either, leaving its precise holding unclear.

D.E.233 at 2. Whatever Desu intended, it is not precedential to the extent the Special Counsel

seeks to use it to find Mr. Biden’s motion time barred. Berrigan plainly held that where the

government secures a conviction based on a legal impossibility, despite proving all that it charged,

the government fails to obtain a valid conviction and a Rule 29 judgment of acquittal is appropriate.

And Panarella, Vitillo, Cefaratti, Spinner, Wander, and Pemberton all hold that a challenge for

failure to state an offense can be raised at any time, even when first raised on appeal. See also,

e.g., United States v. Watkins, 709 F.2d 475, 478 n.2 (7th Cir. 1983) (“It is well-established that

the failure of an indictment to state an offense is a fatal defect that may be raised at any time.”).

The Third “Circuit has long held that if its cases conflict, the earlier is the controlling authority

and the latter is ineffective as precedents.” Pardini v. Allegheny Intermediate Unit, 524 F.3d 419,

426 (3d Cir. 2008) (quoting United States v. Rivera, 365 F.3d 213, 213 (3d Cir. 2004)); Holland

v. N.J. Dep’t of Corr., 246 F.3d 267, 278 n.8 (3d Cir. 2001) (“[T]o the extent that [a panel decision]

is read to be inconsistent with earlier case law, the earlier case law . . . controls”); O. Hommel Co.

v. Ferro Corp., 659 F.2d 340, 354 (3d Cir. 1981) (“a panel of this court cannot overrule a prior

panel precedent. . . . To the extent that [a later case] is inconsistent with [an earlier panel decision,

the later decision] must be deemed without effect”); Third Circuit IOP 9.1 (“Policy of Avoiding

Intra-circuit Conflict of Precedent. It is the tradition of this court that the holding of a panel in a

precedential opinion is binding on subsequent panels. Thus, no subsequent panel overrules the

holding in a precedential opinion of a previous panel. Court en banc consideration is required to

do so.”).




                                                   9
Case 1:23-cr-00061-MN Document 236 Filed 06/24/24 Page 11 of 13 PageID #: 3530




       In any event, the Special Counsel acknowledges that a late Rule 12 motion can be excused

for “good cause” under Rule 12(c)(3), so—to the extent Mr. Biden’s judgment for acquittal should

be construed instead to seek the different remedy of dismissal—the Court should find Mr. Biden

has such good cause. D.E.233 at 2. It makes no intuitive sense why a defendant who wants an

acquittal under Rule 29 must instead seek a different remedy of dismissal under Rule 12, and cases

like Fernandez and Berrigan suggest there is no need to do so. Defense counsel is confident that

this motion is appropriate under Rule 29 and that it can be viewed as timely filed under Rule 12

now as well, but if the Court finds that defense counsel is mistaken , then it should find that such

an inadvertent mistake provides good cause.

       To do otherwise would provide an overly punitive response of allowing a conviction for a

non-crime. It is not fair to place such a heavy consequence on a defendant due to a ny possible

mistake by his counsel. The Third Circuit explains: “Those substantive errors which result in a

person’s charge and conviction for something not a crime are fundamental.” United States v.

Stoneman, 870 F.2d 102, 105 (3d Cir. 1989). Courts should use their discretion to avoid what

“would result in upholding a sentence for a crime that in fact was not a crime.” Black v. District

Att’y of Phila., 246 F. App’x 795, 798 (3d Cir. 2007) (equitable tolling). Here, such an error as

convicting Mr. Biden under a repealed statute would constitute plain error on direct appeal under

Criminal Rule 52(b), and such an actual innocence claim would be challengeable through writs of

habeas corpus or coram nobis. See, e.g., Reeves v. Fayette SCI, 897 F.3d 154, 157 (3d Cir. 2018)

(habeas); United States v. De Castro, 49 F.4th 836, 847 (3d Cir. 2022) (coram nobis). Even the

government has conceded elsewhere that Courts of Appeals should not affirm convictions for non-

crimes. United States v. Bolar, 2014 WL 2719362, at *7 (E.D. La. June 16, 2014) (“The

government contends that ‘it is improbable that an appellate court would affirm a conviction if an




                                                10
Case 1:23-cr-00061-MN Document 236 Filed 06/24/24 Page 12 of 13 PageID #: 3531




element of the crime is missing under any standard of review. The Fifth Circuit does not affirm

non-crimes, even when a defendant swears to his guilt in a plea colloquy.’”) (citing government

brief that cites United States v. Reasor, 418 F.3d 466, 473 (5th Cir.2005)). Thus, it would elevate

form over substance for a district court to deny Mr. Biden the relief that he ultimately should

receive on appeal or through a collateral challenge.

          Consequently, Mr. Biden’s motion for a judgment of acquittal—not dismissal—is timely

under Rule 29, would be timely under Rule 34 and, to the extent that it should be treated as a Rule

12 motion for dismissal, it is timely under Rule 12(b)(2) and good cause otherwise exists for the

Court to consider the motion. It would be unconscionable for the Court not to use all its discretion

to prevent a conviction from being imposed for a non -crime.

                                         CONCLUSION

          Mr. Biden should be acquitted on Count Three because the offense charged no longer

exists.


Dated: June 24, 2024                           Respectfully submitted,

                                               /s/ Abbe David Lowell
Bartholomew J. Dalton (#808)                   Abbe David Lowell
DALTON & ASSOCIATES, P.A.                      Christopher D. Man
1106 West 10th Street                          WINSTON & STRAWN
Wilmington, DE 19806                           1901 L Street NW
Tel.: (302) 652-2050                           Washington, D.C. 20036
BDalton@dalton.law                             Tel.: (202) 282-5000
                                               Fax: (202) 282-5100
                                               AbbeLowellPublicOutreach@winston.com
                                               CMan@winston.com

                        Counsel for Robert Hunter Biden




                                                11
Case 1:23-cr-00061-MN Document 236 Filed 06/24/24 Page 13 of 13 PageID #: 3532




                                CERTIFICATE OF SERVICE

       I hereby certify that on June 24, 2024, I filed the foregoing with the Clerk of Court using

the CM/ECF system, which will send a notification of such filing to all counsel of record.


                                                    /s/ Abbe David Lowell
                                                    Abbe David Lowell

                                                    Counsel for Robert Hunter Biden




                                               12
